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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 EARLANDO SAMUEL,                                    CIVIL ACTION
              Plaintiff,

              v.

 THE DELAWARE COUNTY HOUSING                         NO. 22-02451
 AUTHORITY, LAURA BLACKBURN,
 DAWN WARE, CHRISTINA PRO,
 INGERMAN PROPERTY
 MANAGEMENT, RASHIDA SMITH,
 RYANN WILLIAMS, NEFERTITI
 RIVERS, TERRI HARDIN, GREG
 WARD, and CATHERINE CUENY,
                 Defendants.

                                      ORDER

      AND NOW, this 9th day of January, 2023, it is hereby ORDERED that Defendants’

Motion to Dismiss is hereby DISMISSED AS MOOT considering the filing of the Amended

Complaint at ECF# 36.

                                              BY THE COURT:


                                              /s/Wendy Beetlestone, J.

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                                              WENDY BEETLESTONE, J.
